          Case 14-22733-CMB                           Doc 57          Filed 03/11/19 Entered 03/11/19 10:40:48                  Desc Main
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B8 (Form 8) (12/08)
                                                               United States Bankruptcy Court
                                                                     Western District of Pennsylvania
 In re      Stacey L. Fleckenstein                                                                            Case No.   14-22733
                                                                                     Debtor(s)                Chapter    7


                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION - AMENDED

PART A - Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by
     property of the estate. Attach additional pages if necessary.)
 Property No. 1

 Creditor's Name:                                                                     Describe Property Securing Debt:
 Select Portfolio                                                                     3391 Rosewood Drive
                                                                                      Pittsburgh, PA 15234
                                                                                      Located in Castle Shannon Borough

 Property will be (check one):
        Surrendered                                                       Retained

 If retaining the property, I intend to (check at least one):
         Redeem the property
         Reaffirm the debt
         Other. Explain                              (for example, avoid lien using 11 U.S.C. § 522(f)).

 Property is (check one):
        Claimed as Exempt                                                                Not claimed as exempt

PART B - Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)

 Property No. 1

 Lessor's Name:                                                Describe Leased Property:                   Lease will be Assumed pursuant to 11
 -NONE-                                                                                                    U.S.C. § 365(p)(2):
                                                                                                              YES              NO


I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.


 Date March 11, 2019                                                     Signature   /s/ Stacey L. Fleckenstein
                                                                                     Stacey L. Fleckenstein
                                                                                     Debtor




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